




Dismissed and Memorandum Opinion filed August 3, 2006








Dismissed
and Memorandum Opinion filed August 3, 2006.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-06-00356-CV

____________

&nbsp;

THERESA HEARN-HAYNES, Appellant

&nbsp;

V.

&nbsp;

CANDLELIGHT HILLS CIVIC
ASSOCIATION, Appellee

&nbsp;



&nbsp;

On Appeal from the 151st District
Court 

Harris County , Texas

Trial Court Cause No.
04-72901

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp; O P I N I O N

This
appeal is from a judgment signed April 4, 2006.&nbsp; No clerk=s record has been filed.&nbsp; The clerk
responsible for preparing the record in this appeal informed the court
appellant did not establish indigence or make arrangements to pay for the
record.&nbsp; 

On June
14, 2006, notification was transmitted to all parties of the court=s intention to dismiss the appeal for
want of prosecution unless, within fifteen days, appellant paid or made
arrangements to pay for the record and provided this court with proof of
payment.&nbsp; See Tex. R. App. P.
37.3(b).&nbsp; Appellant filed no response.








Accordingly,
the appeal is ordered dismissed.

&nbsp;

PER
CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed August
3, 2006.

Panel consists of Chief Justice Hedges and Justices
Yates and Seymore.

&nbsp;





